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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
____________________________________
PETRINA SMITH,                       )
                                     )
            Plaintiff,               )
                                     )
v.                                   ) No. 19-1348C
                                     ) Judge Roumel
UNITED STATES OF AMERICA             )
                                     )
            Defendant.               )
                                     )

         NOTICE OF CHANGE OF ADDRESS FOR THE MARKHAM LAW FIRM



       TO THE COURT, ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF

RECORD:

       PLEASE TAKE NOTICE that the address for The Markham Law Firm has changed.

       Effective March 1, 2021, the firm’s new address is as follows:

       THE MARKHAM LAW FIRM
       8910 University Center Lane, Suite 400
       San Diego, CA 92122
       Telephone: (619) 399-3995
       Facsimile: (619) 615-2067

       Please note, the firm’s phone number, fax number and counsels’ email addresses remain

unchanged. Please update your records, the service list and case docket to reflect the new address.



Dated: April 20, 2021                                Respectfully Submitted,

                                                     THE MARKHAM LAW FIRM



                                                     By: __________________________
                                                            David R. Markham
                                                            Counsel for Plaintiff




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       I HEREBY CERTIFY that on this 20th day of April 2021, the foregoing Notice of Change

of Address for The Markham Law Firm was electronically filed with the Clerk of the Court using

the ECF system, which sent notification of such filing to all counsel of record who have enrolled

and registered for receipt of filings via the Court’s ECF system.
                                                      /s/ Leeanna Carcione




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